Case 2:21-cv-00177-SRB Document 38-54 Filed 10/18/21 Page 1 of 6




                    Exhibit C-35
                   Case 2:21-cv-00177-SRB Document 38-54 Filed 10/18/21 Page 2 of 6




Northern Arizona University's Personalized
Learning
Fred Hurst Wednesday, September 4, 2013 Case Studies

10 min read




                                                Key Takeaways
         Personalized Learning is a self-paced, competency-based program with a high level of assessment
         that produces more graduates in less time and at a lower cost, since students with developmental
                       de ciencies can take free modules to address those before admission.

        The student experience allows students to skip lessons they already know and progress more quickly
        through material with which they have more familiarity, leading to a reduced cost for students and the
                                                    university.
        The program has an interdisciplinary curriculum and no electives, and students can begin a course at
                                    any time thanks to new business processes.
        Coaching/mentor faculty provide personal support and tutoring to facilitate each student's success in
                         obtaining a degree through the Personalized Learning program.




Northern Arizona University (NAU) has four decades of experience serving adult students at a distance, rst
through Greyhound buses, planes, and automobiles; later through interactive television; and, since the mid-1990s,
through online programs. The Arizona Board of Regents has as the number-one goal for their 2020 Strategic Plan:
"To be nationally competitive in the percentage of Arizona's citizens with a high-quality bachelor's degree by
providing affordable access through a well-coordinated and aligned system." Continuing to serve students and
achieve the public policy goals of the Arizona Board of Regents and state politicians to produce more
baccalaureate degree-holders in less time and at a lower cost required a radical rethinking of all facets of our
methods.

Technology has nally caught up with what we have discovered about learning in the past few decades. Chief
among the technologies that enable new approaches are open educational resources (OER), adaptive learning
software, the bandwidth that allows most students to access full-motion video, and new methodologies for
learning such as simulations and games.


                                                                Innovative Personalized
   Author Fred Hurst explains the advantages of providing
   richer resources to students.                                Learning
                                                                Northern Arizona University's Personalized
                                                                Learning enables motivated students to earn a
                                                                high-quality degree more ef ciently and at a
lower cost by customizing coursework to t individual learning styles and previously acquired knowledge. This
competency-based approach provides students with a level of personalization that is not possible in the traditional
classroom.1         Case 2:21-cv-00177-SRB Document 38-54 Filed 10/18/21 Page 3 of 6

Personalized Learning is self-paced, and responses are customized to students' levels of mastery in a competency.
When a student is unable to understand the concepts or exercises, she contacts her faculty mentor for assistance.
With this assistance, the student can immediately focus on the work required to succeed. In the traditional
classroom, the student becomes bored listening to content he already knows or slows down the class asking
questions that the rest know (or seem to know) the answer to.


Program Characteristics
Personalized Learning is self-paced online learning with an interdisciplinary curriculum and no electives. Students
may transfer in prior formal learning such as courses from other accredited institutions, CLEP (College-Level
Examination Program), Advance Placement, and ACE. Coaching/mentor faculty members advise students
concerning their success in the program including career options, learning skills, and life-work-study balance. In
the rst subscription period, the coaching/mentor faculty member talks with the student at least once per week,
and after the rst subscription period, at least every other week. Subject-matter mentor faculty work on-demand
and one-on-one to tutor students who don't understand a concept. The student and the faculty mentor decide
whether to work together via phone, computer conferencing, or e-mail. Some mentor faculty will be existing NAU
faculty, while others will be hired as needed using established quality standards.

Before a student is admitted, she completes a readiness assessment to determine if she is a good candidate for
Personalized Learning. The assessment provides students with feedback on whether they have the motivation
and prerequisite competencies required to succeed. If the student has developmental de ciencies in math and
writing skills, for example, those de ciencies are addressed in free developmental modules before the student is
admitted. If he doesn't know or remember probability theory, then he completes a module on probability, not a
semester-long course covering many concepts. Students might take a couple of weeks or several months to
address various de ciencies, working at their own pace and at no cost to them. NAU and Pearson worked
together to determine existing and new materials speci c to students' needs.

Once admitted, students complete an assessment similar to a nal exam before starting any given course. If they
have prior learning, they may test out of some aspects of or, in rare cases, the entire course. According to Alison
Brown, associate vice president, NAU-Extended Campuses:

     "It's simple. Say you've been handling the accounts for a small business for years. You know business accounting
     backward and forward. With Personalized Learning, you can test out of the parts of accounting where you are
     already competent. Before, you would have had to sit through, and pay for, unnecessary classes."


Developing Curriculum and Courses
Lead faculty deconstructed existing 3-credit-hour courses into learning outcomes and competencies and
reconstructed them as interdisciplinary courses. In Brown's example, a student in the Small Business
Administration degree would not take a three-credit-hour course in accounting, but would instead have
accounting lessons within an interdisciplinary course on creating a business plan.

                                                                  The curriculum design and development as well
                                                                  as the assessments are original and took about
    Author Hurst comments on course lengths.
                                                                  nine months per degree program to complete.
                                                                  No existing NAU online courses or segments
                                                                  were used for the interdisciplinary lessons — the
                                                                  interdisciplinary nature of the courses requires a
tight integration of concepts. NAU recognized that the rapid development schedule would require outside support,
so partnered with Pearson Learning Solutions for development. Pearson brought subject-matter experts,
instructional designers, technical resources, and assessment experts to work under the guidance of the lead
faculty. Pearson receives a percentage of tuition as payment for services for a three-year period or as long as the
agreement is renewed. Periodic updating of courses is the responsibility of the lead faculty.
Students work through the course at their own pace, depending on their abilities and motivation. For every
                  Case
concept the student needs2:21-cv-00177-SRB
                          to learn, there are multiple Document
                                                       modalities — 38-54    Filed
                                                                    perhaps two    10/18/21
                                                                                video             Page
                                                                                      lectures, a video      4 of 6
documentary, and a simulation. Figure 1 shows an example.

                                                                                                  Adaptive learning
                                                                                                  systems use data
                                                                                                  from prior
                                                                                                  students to direct
                                                                                                  current students
                                                                                                  to the modality
                                                                                                  they are most
                                                                                                  likely to be
                                                                                                  successful using
                                                                                                  based on the
                                                                                                  course's
                                                                                                  characteristics
                                                                                                  and the student's
                                                                                                  prior success. The
                                                                                                  multiple
                                                                                                  modalities allow a
                                                                                                  student to
                                                                                                  continue to try to
                                                                                                  learn a required
Figure 1. Screenshot of an online module                                                          competency,
                                                                                                  which makes it
                                                                                                  less likely that a
student will get stuck on a concept. The nal assurance that students will learn the concept is the subject-matter
mentor faculty member who tutors students individually to ensure their success. The student may request a
subject-matter mentor faculty member's support, or the coaching mentor may see in their dashboard that a
student has spent too much time on a task and refer the student to a subject-matter faculty mentor. Social spaces
at the program, course, and lesson level ensure students interact not just with students in the same course but
also with other students who have completed the course. Interim assessments, quizzes, papers, and projects
provide feedback to students on their progress. Some objective feedback is immediate, while subjective feedback
may take a few days to be evaluated.

Students decide when they are ready to attempt to complete the post-assessment ( nal exam). To complete the
course they must score a minimum of 86 percent. If they fail to meet this requirement, they must go back and
study the content until they again feel ready to pass the test. All students are also required to complete an
internship or service learning requirement, which ensures they have the practical experience and social skills to
succeed in today's workplace.


                                                                  Streamlined Business Processes
   Hurst explains how internships support student learning.
                                                                  The business processes for students are also
                                                                  simpli ed. Because the curriculum is self-paced,
                                                                  the student may start the program any day of
                                                                  the year. The student pays on a subscription
model like Net ix, based on time rather than credit hours. Like Net ix, where the subscriber can watch as many
movies as desired during the subscription period, in the Personalized Learning model the student may complete as
many courses as possible in a six-month semester, which provides a nancial incentive for students to progress
more quickly. The program is affordable, with an all-inclusive (materials, textbooks, IT fee) cost of $2,500 per
semester/subscription period.

The student receives two records of their success in the program. A traditional transcript with 3-credit-hour
courses can be provided by a database crosswalk that tracks the completion of all the requirements for each
original 3-hour NAU course. More concretely, the graduate will have a competency report that describes to an
employer the skills directly applicable to the workplace. With a traditional transcript, the employer doesn't really
know what skills a Case  2:21-cv-00177-SRB
                   graduate                            Document
                            has gained from taking three             38-54for Filed
                                                           history courses,         10/18/21
                                                                              example.            Page Learning
                                                                                        The Personalized 5 of 6
competency report identi es the practical skills obtained from successful completion of these courses.

Three bachelor's degrees will be offered initially: small business administration, computer information technology,
and liberal arts. The liberal arts degree is designed for students interested in degree completion.


Building Capacity for Implementation
In January of 2012 NAU started to build capacity for the Personalized Learning initiative. A full-time AVP for
academic affairs was hired rst, followed by lead faculty and staff including a program director, instructional
designer, accessibility specialist, student services specialists, and additional IT staff, including coders. The student
interface required 60,000 lines of code. In addition, for many NAU staff, the majority of their time was reassigned
to the project during some periods or on an ongoing basis to jumpstart the program.


Status of Initiative
NAU's regional accreditor, the Higher Learning Commission of the North Central Association, granted our request
for a substantive change in late May 2013 to offer the three competency-based degrees. Currently, although
federal nancial aid is not available for students, NAU has applied to the U.S Department of Education to offer
Title IV nancial aid for competency-based programs. The only institution approved to offer federal nancial aid
under current U.S. Department of Education protocols is Southern New Hampshire University.2 The process for
SNHU was completed in six months, but it is expected that processing other institutions will accelerate following
approval of the rst institution.

In the second year of operation, three additional bachelor degrees will be offered, and by the third year we
anticipate graduate degrees and certi cates. Projections are for 8,000 students to enroll within the rst ve years.

Each program has an assessment plan that is comprehensive and granular. Rubrics have been assigned to every
topic, lesson, and competency in the programs. The data on student and program results are accessed through an
enterprise reporting system that informs the student and faculty mentor about progress and whether the topics
and lessons are succeeding in fostering student learning. Adjustments can be made quickly to the topics and
lessons to ensure student comprehension.


                                                                     Challenges and
   Hurst details the transparency and exibility of the new
   processes.                                                        Resolutions
                                                                     Reinventing higher education for the modern
                                                                     age poses many challenges. Primarily,
                                                                     reinvention cannot easily occur as an add-on to
existing systems. For Personalized Learning, a new unit within the university was developed and charged with
coming up with a wholly new approach to both the curriculum and the business processes.

                                                                     Second, current student information systems are
                                                                     designed for term-based (semesters/quarters)
   Student information systems need to be more exible to t
                                                                     periods. No existing SIS is capable of starting
   this model, Hurst says.
                                                                     students every day of the year and providing the
                                                                     services ( nancial aid, business processes, and
                                                                     policy administration) required for this sort of
                                                                     competency-based program. This issue remains
as yet unresolved.

                                                                     Internal policies and external regulations are not
                                                                     friendly to innovation such as competency-based
   Each competency-based program must be individually
                                                                     programs. Internal policies can be changed, but
   approved, explains Hurst.
                                                                     many departments and people within an
                                                                          institution are invested in current policies and
                    Case 2:21-cv-00177-SRB Document 38-54
                                                  would preferFiled 10/18/21
                                                               to t any innovationPage
                                                                                   within6those
                                                                                            of 6
                                                                          policies. For NAU, using new policies for the
                                                                          innovation that allowed the old policies to
continue for the rest for the institution was a viable resolution. Ways to comply with external regulations such as
accreditation requirements and federal nancial aid rules are either under development or in place to allow
competency-based programs to move forward.


Impact of Personalized Learning
All students in the Personalized Learning program have the advantage of learning at a pace that adapts to their
needs — slower when they are learning something dif cult and faster when the subject matter is easier. This
recipe for success engages the student at a higher level and brings back the joy of learning often lost in the
traditional assembly-line education system. Explains Cori Gordon, lead faculty in the Liberal Arts Program:

     "Students will have the opportunity to graduate from Personalized Learning more quickly than from traditional
     bachelor degree programs because they are free to work at their own pace, on their own schedule. Students can
     dedicate their free time, whenever that may be, to their studies, and since all course work for their entire degree
     program is available to the students at the time of their enrollment, they can complete a lesson and move on to new
     coursework as quickly as they choose."

In the 2013 State of the Union address, in his proposed budget President Obama highlighted competency-based
education, new accountability requirements for higher education institutions for student success, and the need to
graduate more college students at a lower cost. Similar goals for student completion and accountability are in the
Arizona Board of Regents' performance metrics for NAU. Personalized Learning ful lls those public policy goals as
a competency-based program with a high level of ongoing program assessment while producing more graduates
in less time and at a lower cost for the student, NAU, and the federal nancial aid system.

Notes
     1. To learn more about Personalized Learning and other competency-based postsecondary programs, see
        Paul Fain, "Big Disruption, Big Questions," Inside Higher Education, April 17, 2013.
     2. College for America at Southern New Hampshire University.




     © 2013 Frederick M. Hurst. The text of this EDUCAUSE Review Online article is licensed under the Creative
     Commons Attribution-ShareAlike 3.0 license.




   Student Information Systems , Student Success , Teaching and Learning , Competency-based Education (CBE) , Digital Learning ,
   Student Learning Support
